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                Exhibit 26
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                                                                   Page 1

1
2       UNITED STATES DISTRICT COURT
3       FOR THE DISTRICT OF COLUMBIA
4       ------------------------------------------- x
        STATE OF NEW YORK, et. al.,
5
                                      Plaintiffs,
6
                    -against-
7
        DONALD J. TRUMP, in his official capacity as
8       President of the United States, et al.,
9                                     Defendants.
10      ------------------------------------------ x
11
12
13                         October 14, 2020
                           9:12 a.m.
14
15
16
17
18                   VIRTUAL ZOOM DEPOSITION of ANGELA
19      CURTIS, taken pursuant to Notice, held via Zoom
20      before Fran Insley, a Notary Public of the
21      States of New York and New Jersey.
22
23
24
25

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                                                                   Page 2

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                                                                   Page 3

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                                                                   Page 4

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5                                   MS. ROTH                       185
6
7       -------------E X H I B I T S----------------
8       CURTIS          DESCRIPTION                                PAGE
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1                                         Curtis
2       comes to mind.        There were certain contractors
3       that we had issues with repetitively, be it a
4       certain route or certain day of the week or
5       just overall, and we had a process for
6       addressing those.          So we would, you know, start
7       with a conversation and move to a more formal
8       letter and eventually take the contract if they
9       could not provide service for it.
10              Q.      So going back to what you've called
11      as a fluid conversation about the need to
12      adhere to transportation schedules, would local
13      offices and local plants collaborate with
14      higher-level management as part of those
15      conversations or, you know, what does that flow
16      of information look like?
17              A.      So, when you say "local offices," I
18      want to make sure we are talking about the same
19      thing.       What do you define as a "local office"?
20      I don't --
21              Q.      Yeah, perhaps at a plant level,
22      perhaps even at, you know, an even localized
23      level.
24              A.      So, occasionally, sometimes more
25      frequently, depending on the need you would

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1                                         Curtis
2       have joint collaboration between a plant and
3       offices, again, to discuss late arrivals or
4       late departures depending on which way the mail
5       was traveling to talk about did they need to
6       adjust the trip, what needed to happen, did
7       they need an additional trip in between.                     Say,
8       an early and a late -- for example, if an
9       office was booking out consistently with mail
10      at the end of the day, did we need to add in
11      something earlier that afternoon so that we
12      didn't always have to send an extra back every
13      night to pick up mail.              If we were having late
14      couriers that perhaps missed the last truck,
15      did we need to adjust that last trip in to the
16      plant.       So there was -- there was collaboration
17      at many, many levels depending on what the need
18      was.
19              Q.      Is this something that was happening
20      in the real time that you would have these
21      discussions about how to adjust transportation
22      schedules?
23              A.      Yes, that happened in real time.
24      Now, it didn't mean that the change happened
25      overnight, because depending on how the

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1                                         Curtis
2       adjustment was made, if it was internal or with
3       a contractor, you are talking about a different
4       time frame to put a change in place.                     I just
5       wanted to clarify that.
6               Q.     Understood.          Just to confirm, when
7       we are talking about these conversations about
8       transportation schedules, are we talking about
9       just late trips, or are we talking about late
10      trips and extra trips?
11              A.     So late trips and extra trips.
12              Q.     Could you please define "late
13      trips"?
14              A.     So late trips would be any trip that
15      departed after the scheduled departure time.
16              Q.     Can you please define "extra trips"?
17              A.     An extra trip is the trip that is
18      not part of the regularly daily schedule.
19                     MS. FAJANA:          Alex, can you please
20              display Tab 2, and we will mark this as
21              Exhibit 2 for the record.                  Alex, can you
22              please slowly scroll through so that Ms.
23              Curtis can review Exhibit 2.
24                     (Whereupon document was marked
25              Exhibit 2 for identification as of this

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1                                          Curtis
2       hours.       We talked about opportunity and terms
3       of earned work load.             I'm sure there were other
4       topics but these are -- these are topics we
5       discussed typically at the end of each year and
6       how we did and think about how we can do better
7       in terms of continuous improvement.
8               Q.      Following this presentation, were
9       there any action items regarding late trips and
10      extra trips?
11              A.      My understanding when I left was
12      that I needed to work on making our operating
13      plan, launching trips on time, eliminating
14      extras.
15              Q.      Was that action item given to just
16      you, or was it given to other people who
17      attended that meeting as well?
18              A.      I mean, that expectation I think was
19      clear for us that this was going to be an area
20      of focus and energy for us in my perception.
21              Q.      Just stepping backwards a little
22      bit, why do employees make late trips?
23              A.      Some of the reasons that we found
24      when we got into root cause, it's very easy to
25      make a mistake on the scanner, on the surface

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1                                          Curtis
2       visibility scanner.            If they don't -- if they,
3       for example, scanned containers on a trailer
4       and they don't launch that trailer and they
5       move to the next trailer, that will cause the
6       departure time to show late when it's actually
7       not.
8                       Sometimes you will have multiple
9       trips launching at the same time and not enough
10      employees scanning those trips out so, in fact,
11      they are waiting to launch but not scanned and
12      so they don't leave on time.                    Sometimes you
13      will have an employee that is waiting on a
14      container of mail and launches the trip late.
15      Sometimes the contractor is late.                      There are a
16      multiple number of reasons for a trip to be
17      late as the document displays.                      The in-surface
18      visibility each time a late is in there, an
19      employee identifies the reason for that late
20      trip.
21              Q.      So based on some of the reasons that
22      you -- let me rephrase.
23                      So how common are those different
24      explanations or reasons that you just gave for
25      why employees run late trips?

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1                                          Curtis
2               A.      Contractor late is fairly common we
3       found in our root cause analysis, employee
4       error on scanners is -- depending on the
5       facility and the expertise and training of the
6       employee.       If we have a lot of new employees in
7       a facility, it is possible that we may need to
8       do additional training.                So it might be more
9       frequent there than other places.
10                      For waiting on a container of mail,
11      that is not as frequent but it -- we did find
12      that in the root cause that could happen.                      I
13      think you really have to look at each
14      individual side and not do a one size fits all
15      for that.
16              Q.      For why late trips are run?
17              A.      If we really want to fix the problem
18      at each side, that was our approach.                   We had to
19      look at each plan or each post office and
20      determine, you know, why trips were late
21      leaving from those facilities.
22              Q.      When you reference this root cause
23      analysis, what is a root cause analysis?
24              A.      Continuing to ask why until we get
25      to a point where you can't ask why anymore.                         So

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1                                          Curtis
2               Q.      Okay.     Thank you.            So I would like
3       to move to another topic right now.
4                       So how do you define overtime at the
5       Postal Service?
6               A.      And I'm still as a fact witness
7       right now?       I just want to be clear.
8               Q.      Yes.
9               A.      Sorry.
10              Q.      Yes.
11              A.      So overtime at the Postal Service is
12      time that is paid at a higher rate.                      It's
13      anything over eight hours in a given day or 40
14      hours in a week depending on the bargaining
15      unit contract, and it's utilized to perform
16      work for a variety of reasons.                      It can be due
17      to employee availability issues, it can be due
18      to mail volume issues, any number of issues.
19              Q.      Are there any other -- actually, let
20      me rephrase that.
21                      What is earned time?
22              A.      Earned time is -- so every -- every
23      position, a bargaining unit position that we
24      have, we evaluate workload based on time earned
25      for each transaction.              So if it's on the

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1                                          Curtis
2       window, it -- we know how much time we earn to
3       sell a stamp or to do a money order.                    If it's
4       in the carrier craft, we know how much time we
5       earn to do a package scan.                  So when we say
6       "earned time," that is how many work hours we
7       earn based on our workload.
8               Q.      I'm having trouble following what
9       "earn" means here.           So what does it mean to
10      earn an hour of work, let's say?
11              A.      So for -- let's just take one
12      operation, the city carrier operation, and they
13      are earning office time in the morning at a
14      rate of 18, 8 and 70.              So for every eight slabs
15      that they get a minute.                For every 18 letters
16      that they have to put in a case, they get a
17      minute.      For every total 70 pieces that they
18      have to pull down, they get a minute.                    For
19      every piece of mail that they markup, whether
20      it's, let's say, they write deceased on it,
21      there is a time factor for that.                    So everything
22      that they do in the morning has an earned time
23      factor and that's how they would earn an hour
24      in the office in the morning.
25              Q.      So essentially, looking at different

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1                                          Curtis
2       types of operations there is -- I don't know if
3       it's a chart or if there is some sort of metric
4       that says, if you have, as you said, eight
5       flats, you earn one minute because the Postal
6       Service believes that it should only take you
7       one minute to sort eight flats; is that
8       correct?
9               A.      That's actually in our Bargaining
10      Unit Agreement, those -- those times.                    So it's
11      not what we think, it's what we've agreed on
12      with our Bargaining Unit, our unions.
13              Q.      So then you have that earned time
14      based off of just, you know, whether it's the
15      volume of mail or maybe it's the number of
16      trips that you have to run or how much you need
17      to sort, there is a certain amount of earned
18      time?
19              A.      Correct.
20              Q.      And then what is unearned time?
21              A.      Unearned time would be time that an
22      employee takes to complete those duties over
23      and above the earned time.
24              Q.      And how does unearned time relate to
25      overtime?

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1                                          Curtis
2               A.      In some cases if an employee --
3       again, I'll stay with -- I'll stay with the
4       city carrier because that's where we started.
5       So if, for the day, that carrier's time is
6       eight hours and 15 minutes based on their work
7       load and they take eight hours and 45 minutes,
8       that would be 30 minutes of unearned overtime.
9               Q.      Is their earned overtime as well
10      since Ms. Curtis was just describing what
11      unearned overtime is?
12              A.      Yes, so based on mail volume, a
13      route could earn eight hours and 15 minutes,
14      nine hours even, and so in that case, that is
15      the earned workload for the day and that would
16      include the overtime that was earned as a part
17      of that workload.
18              Q.      So what purpose does overtime serve
19      for postal service operations?
20              A.      Sometimes it is necessary to
21      complete our mission for the day depending on
22      the reason it was called.                 You know, if it's
23      employee availability, if it's workload driven,
24      it's sometimes necessary.
25              Q.      When you say the mission for the

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1                                          Curtis
2       showing?
3               A.      No, not specifically.               I would have
4       to go back and look at notes on it.
5               Q.      So you weren't involved in preparing
6       this slide then?
7               A.      I don't recall being involved in
8       this, no.
9                       MS. FAJANA:          Alex, can you please
10              turn to slide 6?
11              Q.      Are you familiar with this slide?
12              A.      I am.
13              Q.      Did you help prepare this slide in
14      any way?
15              A.      No.
16              Q.      What does -- do you know who did
17      prepare this slide?
18              A.      I don't.
19              Q.      What does "all in" mean?
20              A.      "All in," my perception during the
21      meeting of "all in" meant that I would support
22      the things that we talked about during the
23      meeting going back and working on those things,
24      that I would give my very best effort to that.
25              Q.      What does "opt in" mean?

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1                                          Curtis
2               A.      To me, it meant I would give my very
3       best effort rather than try to pick and choose
4       what portions I supported that I would support
5       our business plan going forward.
6                       MS. FAJANA:          Alex, can you please
7               turn to slide 8?
8               Q.      Are you familiar with this slide?
9               A.      Yes.
10              Q.      Did you help prepare this slide?
11              A.      No.
12              Q.      Do you know who did prepare this
13      slide?
14              A.      Not specifically.
15              Q.      Are you familiar with the contents
16      of this slide?
17              A.      Yes.
18              Q.      So starting at the top "City
19      Delivery-F2B," does that mean the same thing
20      that you described at the beginning with
21      respect to employees who are a part of the
22      National Association of Letter Carriers
23      Bargaining Unit?
24              A.      Yes.
25              Q.      So "work hour reduction target,"

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1                                          Curtis
2       the business, and so we thought that we needed
3       to take a closer look at that.
4               Q.      Before this telepresence was -- for
5       example, the first suggested strategy,
6       scheduled supervisor to SWCS earned, was that
7       something that was already in effect, or was
8       that a strategy that was already being
9       utilized?
10              A.      All these -- you know, that was
11      certainly -- that was always the expectation.
12      I think this -- this was to bring it back to
13      surface that we need to look at those schedules
14      to determine if they were effective.
15              Q.      When you say "bring it back to
16      surface," what do you mean?
17              A.      I mean, we just took a look at the
18      data again round this particular topic and had
19      more conversation around the schedule for
20      supervisors and if we were effectively
21      scheduling them and if we were updating our
22      earned as we needed to and that we needed to
23      take a closer look, because clearly, we were
24      998,000 hours over earned.                  So we had not paid
25      as much attention to that as we should have,

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1                                          Curtis
2       even though that has always been an
3       expectation.
4               Q.      So when you say that you didn't as
5       much attention to it as you should have, do you
6       mean that following this telepresence you had
7       more conversations with carrier supervisors
8       about really only working at earned?
9               A.      I think we had more conversations
10      about why some particular units had supervisors
11      consistently working over earned and what we
12      needed to do to remedy that situation.
13              Q.      So, were these strategies
14      communicated to postal employees who were not
15      present at the telepresence on June 26, 2020?
16              A.      I shared with my team the things we
17      talk about at every meeting, so I'm sure we
18      covered it.
19              Q.      Prior to this telepresence though,
20      would it be fair to say that all of these
21      actions were being practiced at different
22      offices across the country?
23              A.      I would say these are not new.
24      These are things that we have discussed.                     These
25      are things that have been around for a long

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1                                          Curtis
2       leave to deliver the mail or what does tour
3       mean?
4               A.      Tour means -- tour is generally
5       their schedule for the day.                   So if they're are
6       scheduled to come in at 7:30, anything prior to
7       7:30 would be pre-tour.
8               Q.      Why would carriers come in pre-tour?
9               A.      We shouldn't be scheduling them to
10      come in pre-tour.           Sometimes they might come in
11      pre-tour, they just come and clock in early.
12      Sometimes they are coming in to case another
13      route that might be open, but in most cases,
14      that work can be done on under time in the
15      office.
16              Q.      What does "casing" mean?
17              A.      Casing means putting letters and
18      flats in the case in delivery order.
19              Q.      Is that happening before or after
20      mail has been sorted?
21              A.      Simultaneously.             So you have
22      clerks -- yeah, you have clerks that are
23      distributing mail that comes from mail
24      processing and then carriers take that mail and
25      put it in the case in delivery order.

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1                                          Curtis
2       from earlier slides.             So this description here
3       is the Postal Service's projection of what the
4       Postal Service would be of this strategy?
5               A.      Correct.       We -- we had not launched
6       the pilot, really had no idea at that time how
7       effective it would be or what we would run into
8       with that.
9               Q.      What about the next one, "Caseless"?
10              A.      So "Caseless," another pilot that we
11      were working with our union partners on was to
12      allow carriers to -- because the cased mail
13      volume had dropped so significantly, rather
14      than casing mail into a case, they would merge
15      that raw volume into delivery point sequenced
16      mail that came from the plant without all of
17      that equipment to determine if that was more
18      efficient in the office.                Again, to be piloted
19      in a few sites and evaluate it.
20              Q.      So what does "Square Footage
21      Savings" here mean?
22              A.      So if -- for example, if you have a
23      building that is 50,000 square feet and you say
24      10,000 square feet because you're able to
25      reduce casing equipment, if you can go to a

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1                                           Curtis
2               and we will mark this as Exhibit 5.
3                        (Whereupon document was marked
4               Exhibit 5 for identification as of this
5               date.)
6       BY MS. FAJANA:
7               Q.       Ms. Curtis, are you familiar with
8       this document?
9               A.       I am.
10              Q.       What is this document?
11              A.       This is the agenda for an AVP
12      meeting on July 7th.
13              Q.       When was the last time that you saw
14      this document?
15              A.       Probably July 7th.                 I don't think I
16      looked at it since then.
17              Q.       Is an AVP meeting the same thing as
18      an AVP telepresence?
19              A.       Yes.
20              Q.       What was the objective of this
21      telepresence?
22              A.       It was just, you know, a
23      continuation of our prior meeting to continue
24      talking about our end of the year projections,
25      how we thought we would end and what we would

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1                                          Curtis
2       do differently for the new year.
3               Q.      Who was in attendance at this AVP
4       meeting?
5               A.      That would be the area vice
6       president, the vice presidents from
7       headquarters and the chief operating officer
8       and Postmaster DeJoy was at this meeting.
9               Q.      Can you look at this agenda, please,
10      and let me know if there are any topics that
11      you did not, in fact, discuss at the meeting?
12              A.      I believe we discussed these, yes.
13      I would have to see the individual slides, but
14      I believe we discussed all these.
15              Q.      Were you present for this entire
16      meeting?
17              A.      Yes.
18              Q.      So looking at retail business plan
19      at 310, did you prepare that presentation that
20      corresponds to the retail business plan?
21              A.      I did not prepare the presentation.
22              Q.      Did you give that presentation?
23              A.      I did participate in giving,
24      actually led that discussion.
25              Q.      Who prepared the slide associated

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1                                          Curtis
2       beginning of the new fiscal year.                   So we wanted
3       to spend the next couple of weeks ramping up,
4       getting ready, communicating.
5               Q.      So you would start that process of
6       trying to meet all your earned at the beginning
7       of the new fiscal year?
8               A.      Trying to work to earn, yes.
9                       MS. FAJANA:          Alex, can you please
10              turn to slide 6?
11              Q.      Are you familiar with this slide?
12              A.      I am.
13              Q.      What does efficient, affordable and
14      reliable service mean here?
15              A.      That just means we want to operate
16      at an optimum level so we are efficient, we are
17      not spending exorbitant costs to deliver
18      reliable consistent service to the customer.
19              Q.      What does costly and heroic service
20      mean here?
21              A.      That would indicate that we are
22      taking measures that are rescue missions to
23      provide service rather than efficient
24      affordable and reliable.                We are rescuing
25      service.

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1                                          Curtis
2               Q.      What does that mean exactly?
3               A.      So an example might be that if we
4       didn't finish processing all of our packages on
5       time in the morning and that we got some of
6       those, we got some of those packages out to the
7       delivery unit at say noon, that we would turn
8       carriers back around to go deliver those rather
9       than trying to finish timely in the morning so
10      that they could deliver them over the course of
11      the day while they are out on their route.
12                      MS. FAJANA:          Alex, can you please
13              turn to slide 10.
14              Q.      Are you familiar with this slide,
15      Ms. Curtis?
16              A.      Yes.
17              Q.      Could you take a minute to review
18      it, please?
19              A.      (Witness reviewing document).                Okay.
20              Q.      Based on your review is this slide
21      substantially similar to the F2B city delivery
22      slide we discussed as part of the June 26, 2020
23      presentation?
24              A.      It appears to be similar.
25              Q.      Do you note any differences between

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1                                          Curtis
2               Q.       So all postal employees?
3               A.       That's correct.
4               Q.       So going back to the September 21st
5       guidance, was that distributed to employees?
6               A.       Yes, that was distributed across the
7       nation.
8               Q.       That was distributed to all Postal
9       Service employees?
10              A.       Yes.
11              Q.       Do you know how it was distributed
12      to them?
13              A.       I know the hard copy went out and
14      then there was a stand up talk created from
15      that.
16              Q.       What is a stand up talk?
17              A.       Those are just talking points for
18      relaying that information.
19              Q.       Who typically creates stand up talks
20      at the Postal Service?
21              A.       Stand up talks can be created by
22      anyone.        Sometimes they are done locally.
23      Occasionally they are done by a district or an
24      area.        Occasionally done by headquarters.
25      Corporate coms will sometimes assist with the

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1                                          Curtis
2       stand up talks.
3               Q.       For this September 24th stand up
4       talk, who prepared it?
5               A.       I'm not certain.
6               Q.       Do you know who was meant to give
7       the stand up talk, the September 24th stand up
8       talk to employees?
9               A.       So, as we saturate that throughout
10      the organization, it is the EAS or managerial
11      responsibility to share that information.
12              Q.       What is EAS?
13              A.       Yes, that is managerial employees.
14              Q.       How do you ensure that these
15      employees do, in fact, issue the stand up talks
16      that they are supposed to?
17              A.       Sometimes they enter them in a tool
18      kit.        Sometimes they do a manual certification.
19      Sometimes those are done online.
20              Q.       Do you know whether certifications
21      were done for this particular stand up talk,
22      the September 24th stand up talk?
23              A.       The clarifying operations from the
24      21st, I don't know how that was certified now.
25              Q.       So you have mentioned the clarifying

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1                                          Curtis
2               A.      I mean they received it.              They
3       received both of those, all executive and
4       administrative employees.
5               Q.      Were they responsible for
6       communicating that information to the people
7       that they supervised?
8               A.      They would have been responsible for
9       communicating the stand up talk information and
10      that stand up talk did talk about the
11      information that was distributed on
12      September 21st about the clarifying operational
13      guidance.
14              Q.      Understood.          Thank you.
15                      MS. FAJANA:          And I did want to ask
16              whether any other plaintiff's counsel
17              present right now had any additional
18              questions that they want to ask?
19                      (No response)
20                      MS. FAJANA:          I will take that as a
21              no and that concludes my examination.
22                      Ms. Curtis, thank you very much for
23              your time today.
24                      THE WITNESS:           Thank you.
25                      MS. ROTH:        Counsel, before we go off

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1                                            Curtis
2               the record, I just want to reserve the
3               right to review and sign the transcript.
4                       MS. FAJANA:            That's fine.
5                       (Time noted:             3:19 p.m.)
6
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1
2                    A C K N O W L E D G M E N T
3
4       STATE OF                        :
                                        :ss
5       COUNTY OF                       :
6
7                    I, ANGELA CURTIS, hereby certify that
8       I have read the transcript of my testimony
9       taken under oath in my deposition on the 14th
10      day of October, 2020; that the transcript is a
11      true, complete record of my testimony and that
12      the answers on the record as given by me are
13      true and correct.
14
15                                 ------------------------
                                              ANGELA CURTIS
16
17      Signed and subscribed to before
        me this                                 day of
18                                            , 2020.
19
20      -------------------------------------
        Notary Public of the State of
21
22
23
24
25

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1
2
3                         C E R T I F I C A T E
4                    I, FRAN INSLEY, hereby certify that the
5       Deposition of ANGELA CURTIS was held before me
6       on the 14th day of October, 2020; that said
7       witness was duly sworn before the commencement
8       of testimony; that the testimony was taken
9       stenographically by myself and then transcribed
10      by myself; that the party was represented by
11      counsel as appears herein;
12                   That the within transcript is a true
13      record of the Deposition of said witness;
14                   That I am not connected by blood or
15      marriage with any of the parties; that I am not
16      interested directly or indirectly in the
17      outcome of this matter; that I am not in the
18      employ of any of the counsel.
19                   IN WITNESS WHEREOF, I have hereunto set
20      my hand this 15th day of October, 2020.
21
22
23                  <%12112,Signature%>
                    - - - - - - - - - - - -
24                        FRAN INSLEY
25

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